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              IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF HAWAIʻI

 HEIDI PURCELL, M.D., FACOG, et al. CIVIL ACTION
                     Plaintiffs,
                                        Case No. 1:17-cv-00493-JAO-RT
 v.
                                        JOINT MOTION TO EXTEND
                                        PLAINTIFFS’ DEADLINE TO
 XAVIER BECERRA, J.D., in his
                                        FILE MOTION FOR SUMMARY
 official capacity as SECRETARY,
                                        JUDGMENT AND INCREASE
 U.S. D.H.H.S., et al.,
                                        WORD COUNT FOR CONCISE
                     Defendants.        STATEMENTS OF FACTS
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      The Parties previously jointly stipulated to a briefing schedule for cross-

motions for summary judgment and word-count limits for briefs and concise

statements of fact, which this Court entered. Dkt. 211 (Signed Stip. Setting Schedule

(July 29, 2024)). Since then, the Parties have conferred with the intention of filing

updated Joint Stipulations of Facts in conjunction with their cross-motions for

summary judgment, as the Parties have done in connection with previous summary

judgment motions in this case, see Dkt. 85, 140. However, as of September 26, 2024,

the Parties have not been able to reach agreement, and do not foresee a near-term

path to reach a stipulation for the forthcoming cross-motions. In recognition of

Plaintiffs’ approaching deadline, and with a desire not to unduly delay briefing on

the cross-motions for summary judgment, the Parties hereby jointly move for a two-

day extension of Plaintiffs’ deadline to file their motion for summary judgment from

September 30, 2024, to no later than October 2, 2024, and to an increase in the word-

count limit for the Parties’ concise statements of facts from 2,500 words to 3,750

words, to account for the regulatory history that will now be captured therein.

      The Parties note that the proposed two-day extension, if granted by the Court,

will not otherwise impact the summary judgment briefing schedule. The Parties

further note that the proposed increase of 1,250 words from the previously-stipulated

and -ordered limit for the Parties’ concise statements of facts, if granted by the Court,

is significantly fewer words than the 2021 Joint Stipulations of Facts, which was

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approximately 5,000 words. Therefore, the proposed word-count increase to 3,750

words, if ordered by the Court, would still result in significant streamlining of the

information that had been presented in the prior Joint Stipulations.




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DATED: Honolulu, Hawaiʻi, September 27, 2024.


/s/ Jongwook “Wookie” Kim
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DATED: Washington, DC, September 27, 2024

***

APPROVED AND SO ORDERED.


Dated:                       , 2024    _______________________________
                                       Jill A. Otake
                                       United States District Judge




CIV. NO. 1:17-00493-JAO-RT; Heidi Purcell, M.D., FACOG v. Xavier Becerra;
Joint Motion to Extend Plaintiffs’ Deadline to File Motion for Summary Judgment
and Increase Word Count for Concise Statements of Facts


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